17-50236-amk   Doc 253-2   FILED 05/16/19   ENTERED 05/16/19 10:52:15   Page 1 of 6
17-50236-amk   Doc 253-2   FILED 05/16/19   ENTERED 05/16/19 10:52:15   Page 2 of 6
17-50236-amk   Doc 253-2   FILED 05/16/19   ENTERED 05/16/19 10:52:15   Page 3 of 6
17-50236-amk   Doc 253-2   FILED 05/16/19   ENTERED 05/16/19 10:52:15   Page 4 of 6
17-50236-amk   Doc 253-2   FILED 05/16/19   ENTERED 05/16/19 10:52:15   Page 5 of 6
17-50236-amk   Doc 253-2   FILED 05/16/19   ENTERED 05/16/19 10:52:15   Page 6 of 6
